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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

BILL SIEBERT,

                   Plaintiff,

v.                                                      Case No.: 2:18-cv-796-FtM-38MRM

NOVAK ENVIRONMENTAL
SERVICES, LLC.,

               Defendant.
                                              /

                                    OPINION AND ORDER1

       This matter comes before the Court on United States Magistrate Judge Mac R.

McCoy’s Report and Recommendation (Doc. 24) filed on July 7, 2019. Judge McCoy

recommends granting the parties’ Joint Motion to Approve Settlement and Dismiss With

Prejudice (Doc. 22) as a “fair and reasonable solution of a bona fide dispute” of the FLSA

issues, and denying the parties’ request to reserve jurisdiction to enforce the settlement

agreement. The parties filed a Joint Notice of Non-Objection, waiving their right to file

written objections (Doc. 25) on July 8, 2019. Thus, the Report and Recommendation is

ripe for review.

       A district judge “may accept, reject, or modify in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1). The district



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judge “shall make a de novo determination of those portions of the report or specified

proposed findings or recommendations to which objection is made.” Id. And “[t]he judge

may also receive further evidence or recommit the matter to the magistrate judge with

instructions.” Id.

       After examining the file independently, and upon considering Judge McCoy’s

findings and recommendations, the Court accepts and adopts the Report and

Recommendation.

       Accordingly, it is now

       ORDERED:

       (1)    The Report and Recommendation (Doc. 24) is ACCEPTED and ADOPTED

and the findings incorporated herein.

       (2)    The Joint Motion to Approve Settlement and Dismiss With Prejudice (Doc.

22) is GRANTED in part and DENIED in part.

              a. The Joint Motion is granted to the extent that the Settlement Agreement

                     (Doc. 22-1) is APPROVED as a “fair and reasonable resolution of a bona

                     fide dispute” of the parties’ FLSA issues.

              b. The Joint Motion is DENIED to the extent it requests the Court retain

                     jurisdiction.

       (3)     The above-captioned case is DISMISSED with prejudice.

       (4)    The Clerk is DIRECTED to enter judgment, terminate any pending motions

and deadlines, and close the file.




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      DONE and ORDERED in Fort Myers, Florida this 8th day of July, 2019.




Copies: All Parties of Record




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